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                  EXHIBIT A
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                                                                                                        - ....,
                                                                                    22 de Septiem~ cf8: 2005



                      Facsimile:    (614) 442 3181
                                                                                               -
                     Teh~fono:      (614) 442 3100                                               )



             24.2.   Para fines legales en Bolivia, las Partes declaran y constituyen Ia direcci6n antes
                     indicada como su domicilio legal, con el valor asignado per el Articulo 29, incise
                     II del C6digo Civil Boliviano, en el que las diligencias de emplazamiento y
                     notificaciones en procesos civiles o cualquier otra comunicaci6n tendran Iugar
                     con plena validez legal y sin derecho a protesta.

             CLAUSULA VIGESIMA QUINTA.- (Divisibilidad) Si cualquier clausula, oraci6n,
             parrafo,' incise o estipulaci6n del presente Acuerdo fuese judicialmente declarada
             prohibiqa, invalida, inejecutable, nula o ilegal, las Partes del presente acuerdan, en Ia
             medida permitida per ley, que esto no afectara Ia validez, legalidad y ejecutoriedad de
             las demas estipulaciones del presente Acuerdo y las Partes acuerdan que Ia porci6n o
             porciones declaradas prohibidas, invalidas, inejecutables, ilegales o nulas se
             interpretaran como eliminadas del presente Acuerdo, y el resto del Acuerdo mantendra
             el mismo valor y fuerza como si Ia porci6n o porciones eliminadas nunca hubiesen side
             incluidas en el presente Acuerdo.

             CLAUSULA VIGESIMA SEXTA. (Ausencia de Renuncia)

             26.1.   La demora en el ejercicio o Ia omisi6n de cualquiera de las Partes de ejercitar
                     cualquier derecho o facultad, contenidos en el presente Acuerdo, no operara
                     como una renuncia a los mismos ni impedira el ejercicio de cualesquiera de sus
                     derechos o facultades. El ejercicio parcial de cualquier derecho no significara Ia
                     renuncia al ejercicio del mismo en su integridad en el futuro o el ejercicio de
                     cualquier otro derecho legal. La renuncia a cualquier derecho no tendra efecto a
                     no ser que sea otorgada per escrito.

             26.2.    Los derechos y facultades previstos en el presente Acuerdo son acumulativos y
                      no excluyen ningun otro derecho ni facultad previsto per ley. La afirmaci6n o
                      ejercicio de cualquier derecho o facultad bajo el presente, no evitara Ia
                      afirmaci6n concurrente de ningun otro derecho o facultad.

             CLAUSULA        VIGESIMA        SEPTIMA.-        (Modificaciones,     Renuncias       y
             Consentimientos).
             Cualquier modificaci6n o renuncia a, o cualquier consentimiento otorgado bajo cualquier
             clausula del presente Acuerdo, sera necesariamente per escrito, y en el case de las
             modificaciones o enmiendas, suscrita per cada una de las Partes del presente Acuerdo.

             ClAUSULA VIGESIMA OCTAVA.- (Costos) .

      .,rvr\ Todo    coste ya sea notarial, impositivo o de registro y todo otro gasto emergente del
     roy· presente Acuerdo sera pagado per SOBOCE.
.~           ClAUSULA VIGESIMA NOVENA.· (SoluciOn de Controversias).


 £0}Ll.~     29.1 Arbitraje: Cualquier controversia, litigio, discrepancia, asunto o demanda que
             pudiera surgir entre des o todas las Partes de este Acuerdo con respecto a Ia existencia,



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  aplicaci6n, validez, interpretacion, cumplimiento o incumplimiento y extinci6n de este             0
  Acuerdo (una "Controversia") que no pudiera ser resuelta mediante negociaci6n directa
  entre las Partes involucradas en dicha Controversia, sera sometida a conciliaci6n y
  posteriorrnente a arbitraje internacional para una soluci6n definitiva, con sujeci6n al
  reglamento de Ia Comisi6n lnteramericana de Arbitraje Comercial ("CIAC") y segun fuere
  modificado mediante acuerdo mutuo entre las Partes del Arbitraje (el "Reglamento"). El
  Arbitraje sera administrado por el capitulo nacional de Ia CIAC en Bolivia, Ia Camara
  Nacional de Comercio de Bolivia (el "Administrador''). En Ia medida requerida por el
  contexte y para los fines de esta clausula, cualquiera de las Partes involucradas en el
  Arbitraje se denominara "Parte del Arbitraje".
          '
  29.2 R~nuncia a Recursos: Cualesquiera laudos u 6rdenes emitidos por el Tribunal
  Arbitral seran finales y de obligatorio cumplimiento para las Partes del Arbitraje que
  renuncian de manera expresa a todo recurso de anulaci6n, excepci6n o apelaci6n contra
  dicho laude. El laude arbitral puede ejecutarse en cualquier corte con jurisdicci6n
  competente sobre el mismo o sobre las Partes del Arbitraje o sus bienes.

  29.3 Notificaci6n de Arbitraje: Cualquier notificaci6n de una demanda de arbitraje (una
  "Notificaci6n de Arbitraje") se notificara al Administrador quiem notificara a el/los
  demandado(s), sometiendo Ia Controversia a arbitraje con sujeci6n a esta Clausula.
  Cualquier Notificaci6n de Arbitraje que solamente involucre a dos de las Partes del
  presente Acuerdo se enviara tambien a las otras Partes, que puede intervenir en el
  proceso como Parte del Arbitraje o colaboradora en un plazo de veinte (20) dias con
  posterioridad a Ia recepci6n de tal notificaci6n. El (los) demandado(s) pueden presentar
  una contrademanda contra dicha tercera Parte que participa de esta manera, en el mismo
  procedimiento. En todo case, el laude arbitral sera vinculante para todas las Partes del
  Arbitraje.

  29.4 Tribunal Arbitral

  29.4.1 Numero de Arbitros: El Tribunal Arbitral consistira de tres arbitros designados con
  sujeci6n a Ia Clausula 29.4.2, a no ser que en un plazo de veinte (20) dias con
  posterioridad a Ia recepci6n de Ia notificaci6n por parte del demandado, las Partes del
  Arbitraje hubieran acordado que el Tribunal Arbitral consista solamente de un arbitro, y
  hubieran acordado con respecto a Ia identidad de dicho arbitro.

  29.4.2 Designaci6n del Tribunal Arbitral - Tres Arbitros. Si el Tribunal Arbitral se
  integrara por tres arbitros, y solamente hay dos Partes en el Arbitraje, cad a Parte nombrara
  un arbitro. El demandante nominara un arbitro a tiempo de entregar Ia Notificaci6n de
  Arbitraje. El demandado nominara un arbitro en un plazo de veinte {20) dias con
  posterioridad a Ia recepci6n de Ia notificaci6n correspondiente a Ia nominaci6n del
  demandante. Si hay mas de dos Partes en el Arbitraje, ya sea como demandantes o
  demandados, los multiples demandantes 0 los multiples demandados, nominaran de
  manera conjunta un solo arbitro.          Si los multiples demandantes o los multiples
  demandados no pudieran llegar a un acuerdo para el nombramiento del arbitro, el
  Administrador efectuara prontamente dicha designaci6n. Si cualesquiera de las Partes del
  Arbitraje (o las multiples Partes del Arbitraje, segun se indica mas arriba) no designan un
  arbitro dentro de dichos plazos, Ia otra Parte del Arbitraje puede solicitar que el
  Administrador designe al segundo arbitro. El Administrador efectuara dicha desigriaci6n
  prontamente, y podra ejercer su discreci6n (con sujeci6n a Ia Clausula 29.4.3 del presente)



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                 para realizar dicha designaci6n. Los des arbitros designados de esa manera designaran
                 un tercer arbitro quien presidira el Tribunal Arbitral.                     ·

                 29.4.3 Procedimiento de Lista: Si en un plaza de veinte (20) dfas con     pos~erioridad a Ia
                 designaci6n del segundo arbitro, los des arbitros no llegaran a un acuerdo para Ia
                 designaci6n del arbitro presidente, el Administrador designara oportunamente at arbitro
                 que presidira el Tribunal Arbitral empleando el siguiente procedimiento basado en una lista,
                 a no ser que (x) todas las Partes del Arbitraje acuerden que el procedimiento basado en
                 una lista no debe ser utilizado o (y) el Administrador determine a su discreci6n que el usc
                 del procedimiento basado en una lista no es apropiado para el case:
                         I




                                        i)     A solicitud de una de las Partes del Arbitraje, el
                                               Administrador enviara a las Partes del Arbitraje una lista
                                               identica conteniendo per to menos tres nombres;

                                        ii)    En un plaza de diez (1 0) dias con posterioridad a Ia
                                               recepci6n de dicha lista, cada Parte del Arbitraje devolvera
                                               Ia lista al Administrador despues de haber borrado el
                                               nombre o los nombres objetados y haber numerado el resto
                                               de los nombres en Ia lista en arden de preferencia;

                                        iii)   Con posterioridad a Ia expiraci6n del periodo indicado
                                               anteriormente, el Administrador designara oportunamente al
                                               arbitro que presidira el Tribunal Arbitral de entre los nombres
                                               aprobados en las listas devueltas y de acuerdo con el arden
                                               de preferencia indicado per las Partes del Arbitraje;
                                               disponiendose, sin embargo, que sino quedasen nombres
                                               aprobados en las Jistas que se le devolvieron, el
                                               Administrador designara oportunamente al arbitro que
                                               presidira el Tribunal Arbitral con sujeci6n al Reglamento.

                                        iv)    AI efectuar Ia designaci6n, el Administrador tendra en
                                               cuenta las consideraciones que hagan posible asegurar Ia
                                               designaci6n de un arbitro independiente e imparcial.

                 29.5 Consolidaci6n: El Arbitro Onico tendra Ia facultad, a solicitud de una Parte del
                 Arbitraje, de consolidar des o mas arbitrajes iniciados con sujeci6n a esta Clausula.

                 29.6 Costos del Arbitraje y Representaci6n Legal: La parte perdidosa cubrira los costas
                 razonables del arbitraje en relaci6n con cualquier arbitraje llevado a cabo con sujeci6n a
                 esta Clausula, incluyendo los costas del arbitraje (es decir comisiones y gastos
                 administrativos, honorarios y gastos de los arbitros), y los honorarios y gastos de Ia
 ~               representaci6n legal relatives al proceso de arbitraje.

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      IJ+~ 1
                 29.7 Confidencialidad: El procedimiento de arbitraje, incluyendo todos los materiales
                 presentados en las audiencias y todas las transcripciones seran confidenciales. Las
      ~~         Partes del Arbitraje no deberan revelar ninguno de estes materiales ni proporcionar

d      ~ltY~
       IT Z,
                 informacion a terceros, excepto en Ia medida requerida per Ia Ley Aplicable o con elfin de
                 salvaguardar sus intereses legales.




                                                                                                         34
